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 5
                                   UNITED STATES DISTRICT COURT
 6
                                         DISTRICT OF NEVADA
 7
     UNITED STATES OF AMERICA,                       )
 8                                                   )
                           Plaintiff,                )
 9                                                   )
             v.                                      ) 2:12-CR-237-APG-(CWH)
10                                                   )
     JULIAN GAYTAN,                                  )
11                                                   )
                           Defendant.                )
12                                                   )
13                              PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on September 20, 2013, defendant JULIAN GAYTAN was found guilty

15 by a Jury on Counts One through Four of a Four-Count Criminal Indictment charging him in Count

16 One with Conspiracy to Travel in Interstate Commerce in Furtherance of Racketeering Activity in

17 violation of Title 18, United States Code, Sections 371 and 1952(a)(2); in Counts Two and Four with

18 Brandishing a Firearm in Furtherance of a Crime of Violence in violation of Title 18, United States

19 Code, Section 924(c)(1)(A)(ii); and in Count Three with Interstate Travel in Aid of Racketeering

20 Activity in violation of Title 18, United States Code, Section 1952(a)(2)(B). Criminal Indictment, ECF

21 No. 1; Jury Verdict, ECF No. 271.

22            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1), and (2), the United States of

23 America has shown the requisite nexus between property set forth in the Forfeiture Allegations of the

24 Criminal Indictment and the offenses to which defendant JULIAN GAYTAN was found guilty.

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 1            The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

 2 924(d)(1), (2)(C), and (3)(A) and Title 28, United States Code, Section 2461:

 3                  1. a black Glock, Model 22, .40 caliber handgun, bearing serial number SMF592;

 4                  2. a black Springfield Armory, Model 1911, .45 caliber handgun, bearing serial

 5                      number N437696; and

 6                  3. any and all ammunition (all of which constitutes “property”).

 7            This Court finds the United States of America is now entitled to, and should, reduce the

 8 aforementioned property to the possession of the United States of America.

 9            NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

10 United States of America should seize the aforementioned property.

11            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

12 JULIAN GAYTAN in the aforementioned property is forfeited and is vested in the United States of
13 America and shall be safely held by the United States of America until further order of the Court.

14           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

15 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

16 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

17 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

18 name and contact information for the government attorney to be served with the petition, pursuant to

19 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

20           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

21 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

22           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

23 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

24 following address at the time of filing:

25 . . .

26 . . .

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 1                 Michael A. Humphreys
                   Assistant United States Attorney
 2                 Lloyd D. George United States Courthouse
                   333 Las Vegas Boulevard South, Suite 5000
 3                 Las Vegas, Nevada 89101.
 4          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

 5 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

 6 following publication of notice of seizure and intent to administratively forfeit the above-described

 7 property.

 8                     30th
            DATED this __ dayday of September,
                              of ________________, 2013.

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                                                 UNITED STATES DISTRICT JUDGE
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